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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

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IN THE MBTTER OF:
JAMAL B. ROBINSON,
Plaintiff,
v. : C.A. No.
15-100 (RJL)
DISTRICT OF COLUMDIA, et al.:

Defendant.

 

 

Thursday,
March 15, 2018

Wsshington, D.C.

DEPOSITION OF:
DETECTIVE SCOTT PINTO

called for examination by Counsel for the
Defendant, pursuant to Notice of Deposition, in

the Office of the Attorney Genersl for the
District of Columbia, located at One Judiciary
Square, 441 4th Street NW, Weshington, DC 20001,
when were present on behalf of the respective

parties:

 

 

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1 certain areas where, like, a recent violent crime 1 other male if they lived there. They didn‘t
2 was committed or a homicide just to get into that 2 initially respond. They kind of both looked at
3 area to do our regular operations in those areas. 3 each other kind of suspiciously. l asked again
4 Q So now, since you guys are in unmarked 4 and Mr. Robinson responded something to the
5 vehicles and you're in plain clothes, how did you 5 effect of, "No, but you don't need to know what's
6 all coordinate that with the district? Say for 6 going on," something to that effect.
7 instance you're going into 60 to conduct 7 l recall exiting the vehicle to
8 operationsl They don't know who you are, so what 9 approach the motor vehicle that l observed and
9 would be the way that you would let everybody, 9 Oft`rcer Clifford and Roe advised that they were
10 give everybody a head's up that, "We're here. 10 going to approach the two males.
11 We‘re going to be concluding operations"? 1 1 Q Okay, now, you said that the car was
12 NlR. GUEST: Objection. 12 not parked proper|y. What does that mean?
13 DETECT|VE PINTO: 50 it's my 13 A So the car was in the block, but it
1 4 understanding that our supervisors would contact 1 4 was more than 12 inches away from the curb.
1 5 the watch commanders to whatever district that we 1 5 Q Okay, but you said it was idling?
1 6 would go into and let them know, "Hey, |ook, the 1 6 A The car was.
17 Gun Recovery Unit's going to be deployed in your 17 Q And so was that some violation that
1 3 district today," and then it's my understanding 1 8 you saw?
1 9 that the watch commander is supposed to let the 1 9 A The idling was not, but the carjust
20 street supervisors know that to pass the word 20 sitting in a parked position more than 12 feet
2 1 along to the members that GRU would be deployed 2 1 away -
22 in their district for that tour. 22 Q 12 feet away or -
17 19
1 BY MR. LATT|MER: 1 A l'm sorry, 12 inches - apologies, l
2 O_ Okay, so you had, there was some 2 misspoke - was a violation.
3 coordination with the, whatever district you're 3 Q Of what?
4 going to go into? 4 A Obstructing the proper flow of traffic
5 A Mainly through supervisors, not on my 5 and not parked properly.
6 level. 6 Q But if~ was someone in the vehicle?
7 Q Olcay, so do you recall the incident 7 A Yes.
8 with Mr. Robinson? 3 O. So that wouldn't be considered parked.
9 A | do. 9 That would be considered standing, wouldn't it?
10 Q Tel| me what you recall. 10 A Parked or standing, the vehicle was in
11 A l recall going into the 5100 block of 11 a parked position.
12 C Street SE. l recall being with Ofticer 12 Cl Okay, and so you're aware of some law
13 Clifford and Officer Roe. l recall when we 13 in the District of Columbia that says that a
14 entered the block, l observed a vehicle that was 14 vehicle that is standing with an individual in it
15 sitting idling. lt was not parked properly. lt 15 and idling has to be within 12 inches of the
16 had heavy tint on it. 16 curb?
17 | observed two males, one of them we 17 MR. GUEST: Objection.
18 later found out was Mr. Robinson, sitting on this 13 DETECT|VE PlNTO: Or it has to be not
1 9 property, in front of this property where there 1 9 obstructing the flow of traffic
20 was a no trespassing sign or something to that 20 BY MR. LA'|'I'|MER:
2 1 effect sign in that residence's window. 2 1 Q Well, how is it obstructing the flow
22 l recall asking |V|r. Robinson and the 22 of traffic? As l understood, you pulled your
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1 vehicle up next to it, didn't you? 1 for it during one of our 40-hour courses |
2 A l was behind it if l recall correctly. 2 can't recall what year it was.
3 Q 50 you pulled up behind it, and so no 3 Q Okay, a 40-hour course on a tint
4 traffic could get by? ls that what you're 4 meter?
5 saying? 5 A No, no, no, it wasn't 40 hours, but it
6 MR. GUEST: Objection. 6 was during that block of training. One of it
7 DETECT|VE P|NTO: l don't recall if 7 was, l recall, the tint training.
8 traffic was able to get by my vehicle or not. 8 Q So if l got it straight, you got out.
9 BY MR. LATT|MER: 9 You wrote a ticket, a parking ticket for parking
10 0 l'm saying the vehicle that you say 1 0 improperly, is that right?
1 1 was not properly parked, no traffic - a vehicle 1 1 A At one point, | did, yes.
12 12 inches from the curb was obstructing the flow 12 Q For a vehicle that was occupied and
1 3 of traffic and so that no traffic could come by? 1 3 idling, you wrote a parking ticket, right?
1 4 ls that what you're saying? 1 4 A Correct.
15 A l don‘t recall if traffic was able to 1 5 Q Okay, and then you wrote a ticket for
16 get by or not. 1 6 an illegal tint, and what is the standard for
1 7 Q Ol<ay, you weren't going to write a 1 7 that?
18 ticket, right? 18 A For the District, it's 70 percent, and
19 A l did write a ticket. 1 9 for the state of Maryland, 35 percent.
20 Q For illegal parking? 20 Q But you weren't in Mary|and, right?
21 A l did. 2 1 A No, we were in the District of
22 Q When did you do that? 22 Columbia.
21 23
1 A During the course of the arrest of the 1 Q Okay, so you wrote the ticket, a D.C.
2 driver. 2 ticket, right?
3 Q The driver was arrested for no permit? 3 A Correct.
4 A Correct. 4 Q And neither of those are arrestable
5 Q And so you're saying you wrote a 5 offenses, are they?
6 parking ticket? 6 A The tint or the pa rking?
7 A l recall writing a ticket for the tint 7 Q Right.
8 as well as being more than 12 inches from the 8 A NO.
9 curb. 9 L'l A|l right, so then you said, as l
1 0 O_ Okay, and the tint you say, you had a 10 understood you, that you saw two guys sitting on
1 1 tint meter? 1 1 the wa|l, retaining wall that was in front of the
12 A A tint meter was on the scene. l 12 house, correct?
1 3 don't recall if l personally had one or ifl had 13 A That's how l would characterize that
1 4 to request one. 14 property, yeah.
15 Cl Okay, so did you use it? 15 Q And you said the house had a no
1 6 A Yes. 1 6 trespassing sign?
1 7 Cl And what was the tint you saw that 1 7 A Yes.
1 8 came up on your meter? 18 Cl And | take it there's a sidewalk?
1 9 A l can't recall the exact percentage 19 A Yes.
20 O. And when did you have training with 20 Q Okay, and so the people who were
21 regard to the tint meter? 21 sitting on the retaining wa|l, their feet were on
22 A Several years ago, | went to training 22 the sidewalk?
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1 that the person didn't have a permit on the day 1 the vehicle is inappropriately parked, you're
2 of the offense, l'm not sure if that would be 2 arresting the driver, so you can't leave the
3 upheld or not. 3 vehicle in this inappropriately parked position,
4 BY MR. LATT|MER: 4 correct?
5 Q Al| right, so anyway, you decided to ~ 5 A Correct.
6 now, was this arrest made so that you could 6 0 So it's got to be moved, correct?
7 conduct a search? 7 A Correct.
8 MR. GUEST: Objection. 8 Q And if MPD is moving that vehicle, MPD
9 DETECT|VE PlNTO: No. 9 has to conduct an inventory search, isn't that
1 0 BY MR. LA`l'l'lMER: 1 0 correct?
11 Q l mean, because you all were looking 11 A We are supposed to conduct an
1 2 for guns, right? 1 2 inventory search of items of value if we are
1 3 NlR. GUEST: Objection. 1 3 arresting the occupant of the vehicle.
14 DETEC|'|VE P|NTO: Our primary focus is 14 O. Before you take that vehicle to the
15 guns, correct 15 impound lot, it has to be searched, correct?
16 BY MR. LA`!T|MER: 16 A lt has to be inventoried before the
17 O, Right, and you didn't have any reason 17 vehicle is either impounded or left unattended.
18 to search him unless you arrested hirn, correct? 13 O. Right, so what l'm saying is the only
1 9 A l had no reason to search him, 1 9 way that vehicle gets searched, the only way he
2 0 correct. 2 0 gets searched is an arrest, correct?
21 Cl You had to no reason to search him. 2 1 MR. GUEST: Objection.
22 You had no basis to search the vehicle unless you 22 DETECT|VE P|NTO! |r\ ThiS Sitl~latiorl,
4 l 43
1 arrested him, right? 1 yes.
2 MR. GUEST: Objection. 2 BY MR. LA'|'|'|MER:
3 DETECT|VE PINTO: Correct. 3 Q Okay, so now, the two guys on the
4 BY MR. LAT|`|MER: 4 wall, they're not - did you ever see them in the
5 Q Okay, so the only way that you were 5 vehic|e?
6 going to search that vehicle and him was to 6 A No.
7 arrest him for something, right? 7 Cl Did you ever see them exit the
8 MR. GUEST: Objection. 8 vehicle?
9 DETECT|VE PlNTO: lcan't recall ita 9 A No.
10 search was conducted on the vehic|e. l do know 10 Q All right, so as far as you knew, the
11 we did a search instant to the arrest of his 11 individuals on the wall had never been in the
1 2 person. 12 vehicle, correct?
13 BY MR. LAU|MER: 13 A Correct.
14 Q Okay, you got to search the vehicle 14 Q All right, and so them sitting on the
15 because you've got to do an inventory search at a 15 wall in front ofa property that has a no
16 minimum, correct? 16 trespassing sign is not a crime, is it?
17 MR. GUEST: Objection. 17 MR. GUEST: Objection.
1 8 Dl:`|'ECT|VE P|NTO: An inventory search l 8 DETECTlVE P|NTO: Them sitting on
19 if it's not a search related to an arrest is 19 curtilage to a property that has a no trespassing
20 supposed to be conducted, correct. 20 sign is something that could constitute unlawful
2 1 BY MR. LAT|'IMER: 2 1 entry.
22 Q And in this now, you‘re saying that 22 BY MR. LATT|MER:
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l Q We[[, unlawfu| entry, you have to 1 DETECT|VE PlNTO: No, not necessarily.
2 enter the property, correct? 2 ev MR. LAW|MER;
3 MR. GUEST: Objection. 3 Q You were there for guns. lsn’t that
4 DETECT|VE PlNTO: Or attempt to enter, 4 what you all were doing?
5 correct. 5 A Yes.
6 BY MR. LA`|'l'lMER: 6 Q And you're in a specialized unit that
7 Q Right, and you never saw them attempt 7 was for guns, correct?
8 to enter the property, correct? 8 A Correct.
9 A On the curtilage, l don't know if an 9 Q And so you're going to now look for
10 attempt was made while they were on that 10 people, whether or not sitting on a wall is
11 curtilage. 11 trespassing?
12 Q We|l, that's what l'm saying. lf 12 A Properties that are abandoned and are
13 there was, you didn't see it, correct? 13 vacant sometimes are used to house and store guns
1 4 A Them on the curtilage could be, could 14 and drugs.
1 5 constitute an attempt 1 5 Q Okay, but you had never seen them
1 6 Q An attempt to do what? 1 6 inside the house, right?
1 7 A They're on curtilage of property, so 1 7 A Correct.
1 8 l don't know what their intent is, if it's to 1 8 Q And you had never seen them come out
1 9 enter that property. 1 9 of the house, correct?
2 0 Cl Well, you weren't going to arrest them 2 0 A Correct.
21 for unlawful entry, right? 2 1 Q And nobody called - did you call for
22 A An investigation, | think, was going 22 a marked cruiser to come by at that point?
45 47
1 to be conducted in regards to that. 1 A No.
2 Q For somebody sitting on a wall with 2 0. Did you call a supervisor at that
3 their feet on the sidewalk and a property, a 3 point?
4 house that has no trespassing, somebody was going 4 MR. GUEST: Objection.
5 to investigate whether or not sitting on that 5 BY MR. LA`|'|'|MER:
6 wall constituted trespassing? 6 Q Your sergeant, what was his name,
7 MR. GUEST: Objection. 7 Sergeant Sloa n, i think it was, right?
8 DETECT|VE PlNTO: Correct. 8 A At that point, no, l did not.
9 BY MR. LA`l'FlMER: 9 Q Okay, all right, so did you see what
1 0 Q Who? lt wasn't you guys, was it? 1 0 happened when the other two officers approached?
1 1 A lt was. 1 1 We|l, were they officers or detectives?
1 2 Q You guys from the gun unit were going 12 MR. GUEST: Objection.
1 3 to investigate whether or not somebody sitting on 1 3 DETECT|VE PlNTO: Officers.
14 the wall with their feet on the sidewalk 1 4 BY MR. LA'|'|'|MER:
15 constituted trespassing? 1 5 Q Okay, when the other two officers
16 MR. GUEST: Objection, 16 approached the two men on the wall, did you see
1 7 mischaracterizes his prior testimony. 1 7 what happened?
18 DETECTNE PlNTO: Yes. 18 MR. GUEST: Objection.
1 9 BY MR. LA'lT|NlER: 1 9 DETECT|VE PINTO: l saw a portion of
2 0 Q That's totally outside your duties and 2 0 what occurred.
21 responsibilities wasn't it? 21 BY MR. LA'I'|'|MER:
22 MR. GUEST: Objection. 22 Cl Okay, did either of them - when they
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